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                                                             January 8, 2024

Via ECF

The Honorable Loretta A. Preska,
    United States District Court for the Southern District of New York,
        500 Pearl Street,
            New York, NY 10007.

                Re:       Petersen Energía Inversora S.A.U. v. Argentine Republic and YPF S.A.,
                          No. 15 Civ. 2739 (LAP); Eton Park Capital Mgmt. et al. v. Argentine
                          Republic and YPF S.A., No. 16 Civ. 8569 (LAP)

Dear Judge Preska:

                On behalf of the Argentine Republic, and pursuant to the Court’s January 4, 2024
Order, I respond to Plaintiffs’ letter dated January 2, 2024 (“Ltr.”; Petersen ECF No. 534). Under
28 U.S.C. § 1610(c), “[n]o attachment or execution referred to in subsections (a) and (b) of this
section shall be permitted until the court has ordered such attachment and execution after having
determined that a reasonable period of time has elapsed following the entry of judgment.”
Plaintiffs move for an order finding that a “reasonable period of time” will have elapsed on
January 10, 2024 to permit commencement of execution proceedings as of that date. The order
Plaintiffs seek is unnecessary and premature.

                1.     As an initial matter, Plaintiffs mischaracterize the Republic’s response to
the Court’s November 21, November 29, and December 21 Orders granting a stay of enforcement
pending appeal if the Republic pledged certain assets by January 10 and moved to expedite its
Second Circuit appeal. According to Plaintiffs, the Republic revealed in a December 28 appellate
submission that it had improperly “flouted” the second condition by seeking an extension of time
to file its opening brief in the Second Circuit. In fact, the Republic informed this Court on
December 19—the same day it requested an extension from the Second Circuit—of its request.
(See Petersen ECF No. 531.) The Republic also informed the Court in that same letter of its
determination that it could not pledge the assets identified in the Court’s November 21 Order by
January 10. (Id.) The Republic recognizes that pursuant to the Court’s December 21 Order, the
current stay of enforcement will expire on January 10.

             2.     It does not follow, however, that the Court should grant Plaintiffs blanket
permission under Section 1610(c) to begin proceedings to attach or execute on assets of the
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Republic located in the United States that Plaintiffs have not even started to identify. In fact,
Plaintiffs’ letter-motion identifies no assets of the Republic in the United States that are even
potentially subject to attachment or execution under Section 1610(c). To the contrary, Plaintiffs
acknowledge that they “are not on the cusp of seizing assets that are subject to the limitation in
Section 1610(c).” (Ltr. at 3.) Courts within this District have held that Section 1610(c) orders are
unavailable if no specific assets are identified. See Olympic Chartering, S.A. v. Ministry of Indus.
& Trade of Jordan, 134 F. Supp. 2d 528, 536 (S.D.N.Y. 2001) (Wood, J.) (denying plaintiff’s
Section 1610(c) motion: “since the plaintiff . . . has not identified any specific assets in its motion,
the Court cannot adequately review the propriety of attaching the assets of the judgment-debtor”);
see also Conn. Bank of Com. v. Republic of Congo, 309 F.3d 240, 247 (5th Cir. 2002) (vacating
and remanding district court’s dismissal of a writ of garnishment and noting that “[t]he only order
mentioned by § 1610(c) is an order actually attaching or executing against property”). Indeed,
Plaintiffs identify no practical need for such an order.

               If Plaintiffs have not identified any assets of the Republic in the United States that
they can properly attach or execute on, the only result of a Section 1610(c) order at this time would
be to pave the way for the improper and harassing use of attachment proceedings in a manner
unsupported by the FSIA and wasteful use of judicial resources. See, e.g., HWB Victoria Strategies
Portfolio v. Republic of Argentina, 2017 WL 1738065, at *2 (D. Kan. May 4, 2017) (rejecting
judgment creditor’s attempt to attach Argentine Air Force aircraft engines); NML Capital, Ltd. v.
Space Exploration Techs. Corp., 2015 WL 1334291, at *7 (C.D. Cal. Mar. 6, 2015) (rejecting
attempt to attach contracts entered into by Argentina’s space agency); Colella v. Republic of
Argentina, 2007 WL 1545204, at *7 (N.D. Cal. May 29, 2007) (rejecting attempt to attach the
Argentine presidential airplane). That is a reason to deny Plaintiffs’ request, not to grant it.

                There is also no basis for Plaintiffs’ assertion that a Section 1610(c) order will be
“helpful to clarify the scope of permissible enforcement activities following January 10.” (Ltr. at
3.) It is not clear what Plaintiffs seek to “clarify” or how the order they seek pertains to any
enforcement activity they intend to commence.                As Plaintiffs correctly recognize, a
Section 1610(c) order is not necessary to begin enforcement-related discovery, and it is not
relevant to potential enforcement proceedings outside of the United States. (Id.) In fact, a
standalone Section 1610(c) order on whether a “reasonable period of time” has elapsed since the
judgment would clarify nothing because Plaintiffs have not identified assets of the Republic that
they can execute upon. In other words, so long as Plaintiffs are not “on the cusp” of seizing assets,
there is no reason for this Court to enter a Section 1610(c) order. If Plaintiffs subsequently identify
relevant assets that they can properly attach or execute on, they can renew their motion and the
Court can address the issue in a concrete context.

               3. In all events, Plaintiffs’ letter-motion should be denied because a “reasonable
period of time” has not elapsed under Section 1610(c). What constitutes a “reasonable period of
time” is not defined in the statute: instead, “the period of ‘reasonable time’ will of course vary
according to the nuances of each case.” Pharo Gaia Fund Ltd. v. Bolivarian Republic of
Venezuela, 2021 WL 2168916, at *1 (S.D.N.Y. May 27, 2021) (Torres, J.). In considering the
reasonable-period-of-time requirement, “courts have considered factors such as ‘procedures,
including legislation, that may be necessary for payment of a judgment by a foreign state, which
may take several months; representations by the foreign state of steps being taken to satisfy the
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judgment; or any steps being taken to satisfy the judgment; or evidence that the foreign state is
about to remove assets from the jurisdiction to frustrate satisfaction of the judgment.’” Olin
Holdings Ltd. v. Libya, 2023 WL 6066237, at *1 (S.D.N.Y. Sept. 18, 2023) (Koeltl, J.).

                Here, none of these factors supports the entry of a Section 1610(c) order less than
four months after the Court’s entry of a $16.1 billion judgment against the Republic, an amount
equivalent to 32% of the Republic’s 2023 budget (as amended on November 30). To start, as the
Court is aware, the judgment remains under appeal. Article 170 of the Argentine Permanent
Supplementary Budget Law allows for budgeting of payments only in connection with final
judgments. (See Stay Motion at 4, Rigo Decl. ¶ 7, Petersen ECF Nos. 514, 515-1.) There is also
zero evidence—and Plaintiffs’ letter does not suggest there is any—that the Republic is “about to
remove assets from the jurisdiction to frustrate satisfaction of the judgment.” Olin Holdings, 2023
WL 6066237, at *1. Moreover, as Plaintiffs have recognized, the Republic’s new government is
addressing dire economic circumstances, including widespread poverty, the renegotiation of debt
facilities with the IMF, the inability to access international capital markets, and inflation that is
now approaching 200%.1 The new administration has put into place very significant fiscal and
monetary measures to attempt to put Argentina’s economy on a new course, and is in the midst of
discussions with the IMF with regard to the adjustment of its economic program.

                In these circumstances, even if the current stay of enforcement expires on
January 10, it is not “reasonable” that FSIA attachment and execution proceedings start only four
months after this Court’s judgment. Numerous other courts have found much longer periods to be
“reasonable” even absent many of the compelling factors present here. See, e.g., Olin Holdings,
2023 WL 6066237, at *1 (determining that a period of over one year constituted a reasonable
period); Commodities & Minerals Enter. Ltd. v. CVG Ferrominera Orinoco, C.A., 423 F. Supp.
3d 45, 53 (S.D.N.Y. 2019) (Carter, J.) (period of over one year); Sci. Applications Int’l Corp. v.
Hellenic Republic, 2019 WL 1789641, at *2 (S.D.N.Y. Apr. 24, 2019) (Torres, J.) (period of 11
months); Wye Oak Tech., Inc. v. Republic of Iraq, 2023 WL 7112801, at *1 (D.D.C. Oct. 27, 2023)
(period of 10 months); LLC SPC Stileks v. Republic of Moldova, 2023 WL 2610501, at *2 (D.D.C.
Mar. 23, 2023) (period of 15 months). This case thus bears no resemblance to the single decision
cited by Plaintiffs in which a court permitted, without any explanation, execution to start
immediately on a $55 million judgment against Peru. See Elliot Associates, L.P. v. Banco De La
Nacion, 2000 WL 1449862, at *4 (S.D.N.Y. Sept. 29, 2000) (Sweet, J.).

                4. This Court has already correctly recognized that this case involves
“extraordinary and unique circumstances” and implicates “principles of international comity.”
(Petersen ECF No. 527 at 4, 6.) While the Republic recognizes that under this Court’s prior orders,
the current stay of enforcement will expire on January 10, that does not mean that attachment and
execution proceedings should be permitted under Section 1610(c) as of that date. Rather, in the
event that Plaintiffs identify attachable assets in the United States, Plaintiffs should then renew
their motion for a Section 1610(c) order.

1
 See, e.g., Reuters, Argentina govt sees monthly inflation in December around 30%, Jan. 3, 2024;
Reuters, Argentina devalues peso, cuts spending in economic shock therapy, Dec. 13, 2023;
Bloomberg, Argentina to Pay IMF Next Week, “Reformulate” Deal, Caputo Says, Dec. 13, 2023.
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                                               Respectfully,

                                               /s/Robert J. Giuffra, Jr.
                                               Robert J. Giuffra, Jr.



cc:   Counsel of Record (via ECF)
